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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


             UNITED STATES OF AMERICA                 :
                                                      :
                                                      :
                   v.                                 :    CRIMINAL ACTION NO.
                                                      :    1:10-CR-00086-21-RWS
             IRVIN MEJIA-CRUZ,                        :
                                                      :
                          Defendant.                  :

                                                  ORDER

                   This case is before the Court for consideration of the Report and

             Recommendation [631] of Magistrate Judge E. Clayton Scofield, III. The

             Report and Recommendation is received with approval and adopted as the

             Opinion and Order of this Court. By Order [668] entered December 15, 2011,

             the Court has ruled that all attorneys in this action will be authorized to receive

             interim payments. Thus, the Motion to Authorize Interim Payments [449] is

             GRANTED. The Renewed Motion [583] was granted in the Court’s previously

             entered Order [668].

                   SO ORDERED this 16th day of December, 2011.


                                                     _______________________________
                                                     RICHARD W. STORY
                                                     UNITED STATES DISTRICT JUDGE


AO 72A
(Rev.8/82)
